     Case: 1:23-cv-06112 Document #: 65 Filed: 10/18/24 Page 1 of 3 PageID #:198




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

C.T. and G.T.,                                   )
                                                 )
       Plaintiffs,                               )
                                                 )   Case No. 1:23−cv−06112
v.                                               )
                                                 )   Honorable Jeremy C. Daniel
BLUECROSS BLUESHIELD of ILLINOIS,                )
                                                 )
        Defendant.                               )
                                                 )

             DEFENDANT’S MOTION FOR JUDGMENT UNDER RULE 52

       COMES NOW Defendant Blue Cross and Blue Shield of Illinois, a Division of Health

Care Service Corporation, a Mutual Legal Reserve Company (“BCBSIL”), pursuant to Rule 52 of

the Federal Rules of Civil Procedure, and moves this Court for an Order granting judgment in its

favor and against Plaintiffs, C.T. and G.T. (“Plaintiffs”) and adopting each of BCBSIL’s Proposed

Findings of Fact and Conclusions of Law. The reasons supporting this Motion for Judgment are

set forth in BCBSIL’s accompanying Memorandum of Law in Support of its Motion for Judgment

under Rule 52.

       Along with its Motion for Judgment and Memorandum of Law, BCBSIL files its Proposed

Findings of Fact and Conclusions of Law and supporting Appendix of Exhibits, and BCBSIL

incorporates those documents by reference.

       WHEREFORE, Defendant Blue Cross Blue Shield of Illinois requests that this Court

enter an Order granting its Motion for Judgment; that this Court adopt BCBSIL’s Proposed

Findings of Fact and Conclusions of Law; and any such further relief, at law or in equity, that

BCBSIL has shown itself entitled.
    Case: 1:23-cv-06112 Document #: 65 Filed: 10/18/24 Page 2 of 3 PageID #:199




Dated: October 18, 2024                      Respectfully submitted,

                                             By: /s/ Rebecca R. Hanson

                                             Martin J. Bishop, No. 6269425
                                             Rebecca R. Hanson, No. 6289672
                                             Taylor Marcusson, No. 6342379
                                             Reed Smith LLP
                                             10 South Wacker Drive, 40th Floor
                                             Chicago, Illinois 60606
                                             Tel: 312.207.1000
                                             Fax: 312.207.6400
                                             Email: mbishop@reedsmith.com
                                             Email: rhanson@reedsmith.com
                                             Email: tmarcusson@reedsmith.com

                                             Counsel for Blue Cross and Blue Shield of
                                             Illinois




                                       -2-
    Case: 1:23-cv-06112 Document #: 65 Filed: 10/18/24 Page 3 of 3 PageID #:200




                                CERTIFICATE OF SERVICE

       I, Rebecca R. Hanson, an attorney, certify that on October 18, 2024, I electronically filed

a true and correct copy of the foregoing document via the Court’s ECF filing system, which will

provide a copy to all counsel of record.



                                                    /s/ Rebecca R. Hanson         _______
